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                                              POLICY STATEMENT 73
                                              SEXUAL HARASSMENT
POLICY DIGEST

Monitoring Unit: Office of Human Resource Management
Initially Issued:
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I. PURPOSE

To state the University policy and responsibility regarding sexual harassment as related to its
employees and to its students who believe they have been harassed by an employee.

II. POLICY

The University reaffirms and emphasizes its commitment to provide a workplace free from sexual
harassment and to provide a means to remedy sexual harassment that employees may have
experienced.

The intent of this policy is to express the University's commitment and responsibility to protect its
employees and students from sexual harassment and from retaliation for participating in a sexual
harassment complaint. It is not intended to infringe upon constitutionally guaranteed rights nor upon
academic freedom. In considering allegations of sexual harassment, the University must be concerned
with the rights of both the complainant and the accused.

All complaints of sexual harassment must be reported to the Office of Human Resource Management.
All proven cases of sexual harassment shall result in appropriate disciplinary or other corrective action.
The severity of the disciplinary action shall be consistent with the seriousness of the act of sexual
harassment. Additionally, under appropriate circumstances, the University may take action to protect
its employees and students from sexual harassment by individuals who are not employees of the
University.

III. DEFINITIONS

    A. Sexual harassment: is a form of unlawful sexual discrimination. It is defined as speech and/or
       conduct of a sexually discriminatory nature, which was neither welcomed nor encouraged, which
       would be so offensive to a reasonable person as to create an abusive working or learning
       environment and/or impair his/her performance on the job or in the classroom.

        Sexual harassment may involve a situation where unwelcome sexual advances, requests for
        sexual favors, and other verbal or physical conduct of a sexual nature are made either explicitly
        or implicitly a term or condition of an individual's employment and submission to or rejection of
        such conduct by an individual results in a tangible and adverse employment action. Examples of
        such potential relationships include supervisors and subordinates, employers and job applicants
        and other relationships in which one person has the potential to reward or penalize another in
        regard to his or her employment role.

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       Sexual harassment is also defined as unwelcome verbal or physical conduct of a sexual nature
       or gender-based conduct in which the conduct has the purpose or effect of unreasonably
       interfering with an individual's work performance or creating an intimidating, hostile or offensive
       working environment. Examples include unwelcome touching; persistent, unwanted
       sexual/romantic attention or display of sexually oriented materials; deliberate, repeated gender-
       based humiliation or intimidation, and similar sexually oriented behavior of an intimidating or
       demeaning nature.

    B. Employees: as used herein are defined as all persons having any employment relationship with
       the University.

IV. PROCEDURES

    A. Reporting

       Any member of the University community who believes that he or she has been subjected to
       sexual harassment has a right and an obligation to report it to any University official, supervisor,
       or the Office of Human Resource Management. No student or employee is required to report or
       make a complaint of sexual harassment to the person who is engaging in the problematic
       conduct.

       To insure that situations that may involve sexual harassment are handled appropriately, any
       University administrator or supervisor who is a recipient of a complaint or report of possible
       violation of the policy will immediately notify the Office of Human Resource Management for
       advice and assistance on how to respond to the complaint. The Office of Human Resource
       Management (Room 304, Thomas Boyd Hall, phone, 388-8200) can provide further information
       regarding filing procedures for complaints and regarding investigations of complaints. The Office
       of the Dean of Students is responsible for addressing sexual harassment complaints involving
       student on student harassment.

    B. Complaint Options

       Because sexual harassment may involve a wide range of sexually oriented behaviors and is, in
       part, a function of the way in which such behaviors are perceived, the way in which a given
       incident is appropriately treated depends on its effect upon the recipient as well as upon the
       specific behavior itself. For example, simply informing the initiator through verbal or written
       communication that the behavior is unwelcome and should cease may be sufficient to end it. On
       the other hand, the situation may be such or the behavior may be so extreme that the recipient
       is unwilling or unable to deal with it in this way.

       To help the recipient determine how best to remedy sexual harassment, as well as to insure that
       appropriate measures are taken when warranted, anyone who believes himself or herself to
       have been subjected to sexual harassment may make use of both informal and formal resolution
       procedures.

              1. Informal Procedure - Under the informal procedure, a complaint may be filed with the
                 Office of Human Resource Management or any academic or administrative official of
                 the University (i.e., vice president, dean, chairperson or director). Use of the informal
                 procedure is optional and a person can chose to bypass, discontinue, or initiate a

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                  formal complaint at any time during the informal process. The complainant, the person
                  receiving the informal complaint, and the Office of Human Resource Management will
                  jointly determine how best to handle the complaint. The information reported to the
                  University related to a complaint will be treated as confidential as possible with only
                  those with a need to know being informed of the complaint.

              2. Formal Procedure - Under the formal procedure, the complainant should file the
                 complaint with the Office of Human Resource Management. A formal investigation of
                 the complaint will be conducted to determine if sufficient evidence exists to conclude
                 that a violation of the University’s sexual harassment policy has occurred.

       Both procedures will operate under the general principles of fairness and confidentiality and
       must attempt to ensure that a charge of sexual harassment is carefully reviewed to determine
       whether the conditions in the preceding definition have been met and to further provide that the
       rights of both the complainant and the accused are protected. No University disciplinary action
       for sexual harassment shall be imposed on a University employee except in accordance with the
       provisions of this policy statement.

       Additionally, the individuals involved in the complaint will be notified about its resolution.

    C. Retaliation
       Employees, students, witnesses, and/or other participants involved in a sexual harassment
       complaint or investigation are protected from retaliation of any form. Any employee violating the
       prohibition against retaliation may be subject to disciplinary action up to and including termination.

    D. Other relevant policies and procedures:

       Refer to PS-95 for the University's policy on sexual harassment of students by other students.




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